
662 S.E.2d 390 (2008)
STATE of North Carolina
v.
Darryl Vonzell SULLIVAN, Jr.
No. 564P07.
Supreme Court of North Carolina.
April 10, 2008.
Darryl V. Sullivan, Jr., Pro Se.
Kay Linn Miller Hobart, Special Deputy Attorney General, Peter S. Gilchrist, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 21st day of November 2007 by Defendant in this matter, for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
